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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

UNITED STATES OF AMERICA                                      CRIMINAL NO. 06-30035-02
VERSUS                                                        JUDGE JAMES

ANIS MOHAMED MANA SALEH                                       MAGISTRATE JUDGE HAYES


                           ORDER APPOINTING INTERPRETER
       The Court, having been satisfied that the following individual has the qualifications

necessary to serve as an interpreter in this matter, it is hereby ORDERED that:


                                          IRENE ISHOO

be appointed as interpreter to assist in the arraignment and all other ancillary proceedings to be
held in this matter. Compensation for these services shall be paid by the Government. This

appointment is made pursuant to Rule 28 of the Federal Rules of Criminal Procedure.


       IT IS SO ORDERED.         THUS DONE AND SIGNED at Monroe, Louisiana, this 23RD

day April, 2007.
